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~ RUBEN B. BRCQKS 4
IT I_S HEREBY ORDERED that the following named person heretofore

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committed to the custody of the United States Marshal as a material witness be

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- UNITED STATES DISTRICT/'MAGISTRATE JUDGE` , 1 "

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